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              EXHIBIT L
     Case 2:10-cv-00106-LRH-VCF Document 499-12 Filed 09/18/14 Page 2 of 6




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18
                                  UNITED STATES DISTRICT COURT
19                                         DISTRICT OF NEVADA
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     ORACLE USA, INC., a Colorado corporation;
21   ORACLE AMERICA, INC. a Delaware
     corporation; and ORACLE INTERNATIONAL
22   CORPORATION, a California corporation,            Case No. 2:10-cv-0106-LRH-PAL
23
     Plaintiffs,                                       DEFENDANT RIMINI
24                                                     STREET INC.'S SECOND
     v.                                                SET OF REQUESTS FOR
25                                                     PRODUCTION OF
     RIMINI STREET, INC., a Nevada corporation;        DOCUMENTS TO
26   SETH RAVIN, an individual,                        PLAINTIFFS
27   Defendants.
28

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 1    PROPOUNDING PARTY:                     Defendant Rimini Street, Inc.
 2    RESPONDING PARTY:                      Plaintiffs Oracle USA, Inc., Oracle America, Inc., and
 3                                           Oracle International Corporation

 4   SET NO.:                                Two

 5              DEFENDANT RIMINI STREET INC.'S SECOND SET OF REQUESTS FOR
                               PRODUCTION TO PLAINTIFFS
 6

 7              Pursuant to Federal Rule of Civil Procedure 34, Defendant Rimini Street Inc. ("Rimini

 8   Street") requests that Plaintiffs Oracle USA, Inc. ("Oracle USA"), Oracle America, Inc. ("Oracle

 9   America"), and Oracle International Corporation ("OIC") (together "Oracle" or "Plaintiffs")
10
     produce for inspection and copying all of the following documents and other tangible things that
11
     are in its possession, custody, or control. Production shall take place within 30 days of service of
12
     this request, at the offices of Shook, Hardy & Bacon, LLP, 2555 Grand Boulevard, Kansas City,
13
     Missouri 64108 or at such other location and time as the parties may agree. Oracle is subject to
14

15   a duty to supplement all responses to these requests for production in accordance with Federal

16   Rule of Civil Procedure 26(e). The following definitions and instructions apply.

17                                             DEFINITIONS
18
                The following definitions shall apply throughout these requests, regardless of whether
19
     upper or lower case letters are used:
20
                   A. The term "First Amended Complaint" refers to the "First Amended Complaint for
21

22   Damages and Injunctive Relief' filed by Oracle on the April 19, 2010 in this action.

23                 B. The term "document" is used herein in its broadest sense under Fed. R. Civ. P. 34

24   and applicable case law, including without limitation, hard copies, electronic documents,
25   electronic or computerized data compilations, software, software images, or downloads.
26

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                                                      2
28                           RIMINI STREET'S SECOND SET OF RFPS TO PLAINTIFFS

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        Case 2:10-cv-00106-LRH-VCF Document 499-12 Filed 09/18/14 Page 4 of 6




 1

 2   REQUEST NO. 21: All documents relating to the purchase or transfer of any rights to the
 3
     copyrighted work at issue in this litigation, including without limitation any transfer agreements,
 4
     contracts, payments, receipts, or licensing agreements.
 5

 6

 7   REQUEST NO. 22: A copy of each of the copyrighted work allegedly infringed by

 8   Defendants.

 9

10   REQUEST NO. 23: All documents relating to any legal or administrative proceedings
11
     concerning any of the copyrighted works at issue in this litigation, including without limitation,
12
     documents, pleadings, deposition transcripts, hearing transcripts, orders, settlement documents,
13
     written discovery, expert reports, declarations, any supporting papers and documents offered or
14

15   admitted in such proceedings.

16

17   REQUEST NO. 24: All documents relating to any interest that any person has in any of the

18   copyrighted works or the present litigation and any communications between Oracle and any
19
     person having such an interest.
20

21
     REQUEST NO. 25: All logs or electronic records reflecting downloads by the Defendants of
22
     Software and Support Materials from any Oracle Website.
23

24

25   REQUEST NO. 26: All documents relating to Oracle's contention that "[s]ometimes Rimini

26   Street will download hundreds or even thousands of Software and Support Materials at a time,
27   relating to entire families of software (e.g., PeopleSoft, JDE, or Siebel) that the customer does
28                                              11
                          RIMINI STREET'S SECOND SET OF RFPS TO PLAINTIFFS
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        Case 2:10-cv-00106-LRH-VCF Document 499-12 Filed 09/18/14 Page 5 of 6




 1    REQUEST NO. 87: All documents supporting any of Oracle's claims or defenses in this
 2    action.
 3

 4
     REQUEST NO. 88: All documents relating to your retention, destruction, and preservation
 5
     policies and practices, including electronic document retention, destruction, and preservation
 6
     policies and practices for all categories of documents responsive to any of these requests.
 7

 8

 9

10   DATED: May 13, 2010                      SHOOK, HARDY & BACON

11

12                                            By:     /s/ Robert H. Reckers
                                                     Robert H. Reckers, Esq.
13                                                   Attorney for Defendants
                                                     Rimni Street, Inc. and Seth Ravin
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                          RIMINI STREET'S SECOND SET OF RFPS TO PLAINTIFFS
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 1                                   CERTIFICATE OF SERVICE
 2                 I hereby certify that the foregoing First Set of Requests for Production to Plaintiff
 3   was served on the 13th day of May 2010, via email, as indicated below.

 4
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22

23                                               By:     /s/ Robert H. Reckers
                                                         Robert H. Reckers, Esq.
24                                                       Attorney for Defendants
                                                         Rimini Street, Inc. and Seth Ravin
25

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                           RIMINI STREET'S SECOND SET OF RFPS TO PLAINTIFFS
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